        Case 3:14-cr-00175-WHA Document 960 Filed 01/09/19 Page 1 of 5




             UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA
                              San Francisco Venue


                   Petition for Summons for Offender Under Supervision


Name of Offender                                  Docket Number
Pacific Gas and Electric Company                  0971 3:14CR00175-001 WHA

Name of Sentencing Judge:      The Honorable Thelton E. Henderson
                               Senior United States District Judge

Date of Original Sentence:     January 26, 2017

Original Offense
Count One: Obstruction of a National Transportation Safety Board Investigation, 18 U.S.C. §
1505, a Class D Felony;
Counts Two, Five, Six, Seven, Eight: Natural Gas Pipeline Safety Act, 49 U.S.C. § 60123, a
Class D Felonies.

Original Sentence: Five years probation
Special Conditions: special assessment $2,400; fine $3,000,000; not commit another federal,
state or local crime; comply with third-party monitor; within six months of judgment, develop
and submit effective compliance and ethics program; within 60 days of judgment, place full-page
advertisement; for three months after sentencing and no later than 60 days after sentencing, air
television commercial which publicizes offenses committed by PG&E; shall submit to a
reasonable number of regular and unannounced examination of books and records and
interrogation of knowledgeable individuals; perform 10,000 hours of community service, at least
2,000 of these hours must be performed by high-level personnel; shall notify the probation
officer and monitor of adverse change in business or financial prospects, commencement of
bankruptcy proceedings, major civil litigation, criminal prosecution, administrative proceeding
against the organization, or any investigation or formal inquiry by governmental authorities; pay
fine and special assessment within 60 days of judgment.

Prior Form(s) 12: None

Type of Supervision                               Date Supervision Commenced
Probation                                         January 26, 2017
Assistant U.S. Attorneys                          Defense Counsels
Hallie M. Hoffman; Jeffrey Benjamin Schenk        Steven Bauer; Sean P.J. Coyle; Benjamin
                                                  William Snyder; James Scott Ballenger; Adam
                                                  F. Shearer (Retained)




                                                                    NDC-SUPV-FORM 12C(1) 4/6/2015
        Case 3:14-cr-00175-WHA Document 960 Filed 01/09/19 Page 2 of 5

RE:    Pacific Gas and Electric Company                                                          2
       0971 3:14CR00175-001 WHA


                                     Petitioning the Court

The issuance of a summons for Pacific Gas and Electric Company to appear in court before the
Honorable William Alsup on January 30, 2019, at 9:00 a.m.

I, Jennifer Hutchings, a Probation Officer employed in the United States District Court for the
Northern District of California, solemnly affirm and declare, under penalty of perjury, that to the
best of my information and belief, the facts set forth in this affidavit are true and correct. The
factual affirmations made below are based on my personal knowledge, on official records or
documents generated and maintained by my agency in the course of performing its functions, on
official records or documents generated and maintained by other government agents or agencies
in the course of performing their functions, or on information provided to me orally or
electronically by employees or agents of other public agencies (information developed or
acquired in the course of performing official agency functions).

Charge Number         Violation

One                   There is probable cause to believe that Pacific Gas and Electric (PG&E)
                      violated special condition number eight that they shall notify the probation
                      officer and monitor immediately upon learning of (A) any material
                      adverse change in its business or financial condition or prospects, or (B)
                      the commencement of any bankruptcy proceeding, major civil litigation,
                      criminal prosecution, or administrative proceeding against the
                      organization, or any investigation or formal inquiry by governmental
                      authorities regarding the organization.

                          On October 3, 2018, Pacific Gas and Electric (PG&E) entered into a
                          settlement with Butte County for $1.5 million. The settlement
                          agreement was related to three Butte County fires in October 2017 that
                          were alleged by Cal Fire investigators to have been caused by
                          vegetation contacting PG&E distribution lines. Two of the fires, the
                          LaPorte and Cherokee Fires, were determined by Cal Fire to have been
                          started through an extreme wind event unexpectedly blowing branches
                          onto PG&E lines, sparking large destructive fires. However, no
                          criminal liability on the part of PG&E was alleged as vegetation in the
                          area of the fires origins was properly trimmed back.

                          The third fire, the Honey Fire, ignited on October 9, 2017. Cal Fire
                          was able to stop the forward progress of the fire and contain it to 150
                          acres. Cal Fire determined the cause of the Honey Fire to be a tree
                          branch coming into contact with a PG&E transmission line. This tree
                          branch showed outward signs of decay that would have been apparent
                          on what should have been routine inspections. On May 24, 2018, Cal
                          Fire investigators submitted their reports on the Honey Fire for a
                          possible misdemeanor prosecution of PG&E based on an alleged
                          failure to properly trim decaying branch away from its lines.


                                                                     NDC-SUPV-FORM 12C(1) 4/6/2015
       Case 3:14-cr-00175-WHA Document 960 Filed 01/09/19 Page 3 of 5

RE:   Pacific Gas and Electric Company                                                         3
      0971 3:14CR00175-001 WHA
                       Specifically, Cal Fire alleged that PG&E violated Public Resource
                       Code § 4293. Public Resource Code § 4293 states except as otherwise
                       provided in Sections 4294 to 4296, inclusive, any person that owns,
                       controls, operates, or maintains any electrical transmission or
                       distribution line upon any mountainous land, or in forest-covered land,
                       brush-covered land, or grass-covered land shall, during such times and
                       in such areas as are determined to be necessary by the director or the
                       agency which has primary responsibility for the fire protection of such
                       areas, maintain a clearance of the respective distances which are
                       specified in this section in all directions between all vegetation and all
                       conductors which are carrying electric current: (a) For any line which
                       is operating at 2,400 or more volts, but less than 72,000 volts,12 four
                       feet (b) For any line which is operating at 72,000 or more volts, but
                       less than 110,000 volts, 14 six feet (c) For any line which is operating
                       at 110,000 or more volts, 10 feet. In every case, such distance shall be
                       sufficiently great to furnish the required clearance at any position of
                       the wire, or conductor when the adjacent air temperature is 120
                       degrees Fahrenheit, or less. Dead trees, old decadent or rotten trees,
                       trees weakened by decay or disease and trees or portions thereof that
                       are leaning toward the line which may contact the line from the side or
                       may fall on the line shall be felled, cut, or trimmed so as to remove
                       such hazard. The director or the agency which has primary
                       responsibility for the fire protection of such areas may permit
                       exceptions from the requirements of this section which are based upon
                       the specific circumstances involved.

                       The Butte County District Attorney’s Office began negotiations with
                       PG&E, which led to a settlement agreement, forgoing any criminal
                       prosecution or punishment.

                       At no time did Pacific Gas and Electric Company report this
                       investigation by the Butte County District Attorney’s Office to the
                       probation office. At no time did Pacific Gas and Electric Company
                       report to the probation office that Cal Fire had deemed them
                       responsible for the Honey Fire; that there was the possibility of
                       criminal prosecution; or that they entered into a settlement agreement
                       with Butte County to avoid such criminal prosecution.

                       This is evidenced by Cal Fire investigative report dated October 9,
                       2017; a certified Arborist report dated October 11, 2017; the
                       settlement agreement between the State of California and Pacific Gas
                       and Electric Company dated October 3, 2018; and the testimony of this
                       officer.




                                                                   NDC-SUPV-FORM 12C(1) 4/6/2015
         Case 3:14-cr-00175-WHA Document 960 Filed 01/09/19 Page 4 of 5

RE:     Pacific Gas and Electric Company                                                     4
        0971 3:14CR00175-001 WHA



Based on the foregoing, there is probable cause to believe that      Pacific Gas and Electric
Company violated the conditions of their Probation.


Respectfully submitted,                         Reviewed by:



__________________________________              ___________________________________
Jennifer Hutchings                              Aaron Tam
U.S. Probation Officer                          Supervisory U.S. Probation Officer
Date Signed: January 9, 2019


Having considered the information set forth above, the court finds there is probable cause to
believe there has been a violation of the conditions of supervision and orders:

      The issuance of a summons for Pacific Gas and Electric Company to appear in court before
      the Honorable William Alsup on January 30, 2019, at 9:00 a.m.



      Other:




    January 9, 2019
___________________________________             ___________________________________
Date                                            William Alsup
                                                United States District Judge




                                                                  NDC-SUPV-FORM 12C(1) 4/6/2015
        Case 3:14-cr-00175-WHA Document 960 Filed 01/09/19 Page 5 of 5

RE:    Pacific Gas and Electric Company                                                       5
       0971 3:14CR00175-001 WHA



*Pursuant to 18 U.S.C. § 3565(a), if the defendant violates a condition of probation at any time
prior to the expiration or termination of the term of probation, the court may 1) continue the
defendant on probation, with or without extending the term or modifying or enlarging the
conditions; or 2) revoke the sentence of probation and resentence the defendant.




                                                                   NDC-SUPV-FORM 12C(1) 4/6/2015
